192 F.3d 888 (9th Cir. 1999)
    UNITED STATES OF AMERICA, Plaintiff-Appellee,v.CHARLES FREDERICK BYRNE, Defendant-Appellant.
    No. 98-50405
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Argued and Submitted August 5, 1999--Pasadena, CaliforniaOpinion filed September 17, 1999
    
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;NOTE: THE COURT HAS WITHDRAWN THIS OPINION.  SEE SUBSTITUTED OPINION AT 203 F.3d 671.
    
    